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3                                           EXHIBIT C

4                                EXPENSE SUMMARY
                   FOR THE PERIOD JULY 1, 2019 THROUGH JULY 31, 2019
5

6    Expense Categories                                    Total Expenses for the Period

7    Airfare                                                                  $1,548.08
     Hotel                                                                    $2,638.90
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     Expense Category Subtotal :                                              $4,186.98
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